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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:
                                                           Chapter 11

        Bracha Cab Corp, et al.                            Case No. 17-46613-nhl
                                                           Jointly Administered

                               Debtors.

                                          APPLICATION

       The application of Bracha Cab Corp., et al. debtors and debtors-in-possession

(“Debtors”), respectfully requests:

           1. The Debtors, Bracha Cab Corp., Tamar Cab Corp., NY Genesis Taxi Corp.,

Merab Cab Corp., Fit Taxi Corp., Dabri Trans Corp., and Dovber Cab Corp., filed petitions for

relief under Chapter 11 of Bankruptcy Code on December 8, 2017; Jackhel Cab Corp., NY

Energy Taxi Corp., NY Tint Taxi Corp., NY Canteen Taxi Corp., NY Stance Taxi Corp.,

Lechaim Cab Corp., Jarub Trans Corp., and Somyash Taxi Corp., filed petitions for relief under

Chapter 11 on December 11, 2017. All of the Debtors have continued in the operation of their

businesses and management of their property pursuant to §1107 and 1108 of the code.

           2. On January 19, 2018, this Court entered an order procedurally consolidating the

cases and directing that they be jointly administered by the Court.

           3. The Debtors will require a firm statement from creditors as to the amounts due to

them on their claims in order to confirm a plan of reorganization.

           4. Debtors request that in accordance with Bankruptcy Rule 3003(c) (3) a date (the

“Bar date”) be fixed as the last date by which the holders of any and all claims may file proofs of

claim or requests for payment in these proceedings or be forever barred, from voting or receiving

distribution in connection with said claims or requests.
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            5. The Debtors proposes that the Order Fixing Last Date for Filing of Claims

together with the Notice of Entry of Bar Order, annexed as Exhibit A, be deemed adequate and

sufficient if served by regular mail within 15 days following the date of entry of this Order upon

(I) all persons who have filed a notice of appearance pursuant to Section 1109 of the Bankruptcy

Code in each of the cases and (ii) all those entities which filed claims or are listed in Debtor’s,

Chapter 11 Schedules as holding claims in each of the cases.

        WHEREFORE, Debtors pray for the granting of the annexed order and for such other

and further relief as is just and proper.



Dated: Brooklyn, New York
       March 1, 2018
                                               ROSENBERG, MUSSO & WEINER, LLP
                                               Attorneys for Debtors and Debtors-In-Possession



                                        By:    __/s/_______________________
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